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                        UNITED STATES DISTIUCT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                    M iam iDivision
                                  Caselumber:21-21248-CIV-M ORENO
   VELINDA W EISS '
                  oflbehalfbfherselfand
   otherssimjlarly sim ated,
                 Plaintiff,


   EXCELIV PACL LLC?
                 Deferidant.
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